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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MONTANA
                              MISSOULA DIVISION

TANNER J. PARRICK, individually                     CV-09-95-M-DWM-JCL
and as Personal Representative of the
Estate of Jerry J. Parrick, Deceased,               STIPULATION FOR
and on behalf of Thais D. Park and                  DISMISSAL WITH
Maria Elliot,                                       PREJUDICE

                        Plaintiffs,

                        vs.

FEDEX GROUND PACKAGE SYSTEM,
INC., BRIDGEWATER TRUCKING, LLC,
SERGEY BUSLAYEV, and
VLADIMIR KOCHUKOV,

                        Defendants.

        Plaintiff Tanner J. Parrick, individually and as the Personal

Representative of the Estate of Jerry J. Parrick, Deceased, and on behalf

of Thais D. Park and Maria Elliott and Defendants, FedEx Ground Package


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System, Inc., Bridgewater Trucking, LLC, Sergey Buslayev, and Vladimir

Kochukov, through their respective attorneys, stipulate and agree as

follows:

    1. On July 1, 2009, Plaintiffs sued Defendants.

    2. All claims by and between these parties in the above captioned

        action have been settled.

    3. All claims by and between these parties in the above captioned

        action should be dismissed with prejudice.

    4. Each of these parties shall be responsible for his or its own costs,

        expenses and attorney’s fees incurred in connection with the above

        captioned action.

        DATED this 1st day of November, 2010.

                                      By:     /s/ David R. Paoli
                                              David R. Paoli
                                              PAOLI KUTZMAN, P.C.
                                              Attorneys for Plaintiffs

        DATED this 1st day of November, 2010.

                                      By:     /s/ Lance P. Jasper
                                              Lance P. Jasper
                                              JASPER SMITH OLSON, P.C.
                                              Attorneys for Plaintiffs




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        DATED this 1st day of November, 2010.

                                      By:     /s/ Charles E. McNeil
                                              Charles E. McNeil
                                              GARLINGTON, LOHN &
                                              ROBINSON, PLLC
                                              Attorneys for Defendant FedEx
                                              Ground Package System, Inc.

        DATED this 1st day of November, 2010.

                                      By:     /s/ Bryan D. Cross
                                              Bryan D. Cross
                                              WHEELER TRIGG O’DONNEL, LLP
                                              Attorneys for Defendant FedEx
                                              Ground Package System, Inc.

        DATED this 1st day of November, 2010.

                                      By:     /s/ Mark S. Williams
                                              Mark S. Williams
                                              WILLIAMS LAW FIRM
                                              Attorneys for Defendants
                                              Bridgewater Trucking, LLC, Vladimir
                                              Kochukov and Sergey Buslayev




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